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 3
 4   Attorney for Plaintiff MARTY and MAGGIE
                  EMMONS
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 8                                  UNITED STATES DISTRICT COURT
 9                               SOUTHERN DISTRICT OF CALIFORNIA
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11                                                  )   Case No. 14cv1662-JM (DHB)
     MARTY and MAGGIE EMMONS
                                                    )
12                                                  )   NOTICE OF CHANGE OF ADDRESS
                                                    )
13                                                  )
                           vs.                      )
14                                                  )
     CITY OF ESCONDIDO, ET AL.                      )
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                                    NOTICE OF CHANGE OF ADDRESS
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           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
18
           PLEASE TAKE NOTICE THAT Singleton Law Firm, APC
19
     has changed      names,         firms,   ✔   addresses,   ✔   phone numbers, and/or   fax
20
     numbers as follows.
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           Current contact information:
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26
            January 10, 2019
     DATED: __________________                Signature:_________________________________________
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